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                                                                                            FILED

                                                                                         APR 2 3 2020
                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA                       CLERK, U.S. DISTRICT COURT
                                          Norfolk Division                                NORFOLK. VA




  CENTRIPETAL NETWORKS,INC.,

         Plaintiff,
  V.                                                                   Civil Action No. 2:18cv94


  CISCO SYSTEMS,INC.,

         Defendants.


                                               ORDER


         This matter is before the Court on Defendant Cisco Systems, Inc, ("Cisco") Motion

  Opposing Trial Entirely by Videoconference. Doc. 387. For the following reasons herein,

  Cisco's Motion is DENIED. In light of the ongoing national emergency with respect to the

  coronavirus pandemic, the United States District Court for the Eastern District of Virginia has

  issued the following general orders, providing temporary emergency video and teleconferencing

  for civil and criminal hearings, including the use of Zoomgov for remote proceedings, when

  consent is provided in accordance with applicable statutes and rules of the Judicial Conference of

  the United States. See General Order 2020-09/ Authorization to Use Video Teleconferencing

  Pursuant to the CARES Act; General Order 2020-11/ Public Access to Remote Hearings.

         In its Motion, Cisco raises a variety of objections to the Court decision to hold the trial of

  the case by Zoom's videoconference platform. Cisco objects to the lack of security on the Zoom

  platform stating that their confidential material may be made available to the public during a

  video trial. This is not a meritorious argument to warrant the non-use of Zoom because a trial in

  the courtroom would similarly be open to the public. As a solution to other security concerns,

  Cisco suggests the Court should use Cisco's platform WebEx as an alternative to Zoom. The
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  Court declines this suggestion as any technological failure that may occur while using the

  WebEx software would open Cisco up to prejudicial accusations. Nevertheless, Counsel is free

  to use any software of their choosing to communicate between each other during trial. The Court

  notes that the use of outside communication software during the video trial enhances the ability

  of co-counsel to easily communicate when compared to sitting in the courtroom.

         Moreover, national security has been presented as a reason to expedite the trying of this

  case by Zoom during the COVID-19 pandemic. Cisco, now, objects to these concerns noting that

  Plaintiff CentripetaPs technology is not currently used in any national security context.

  However, Cisco's technology is currently used in the national security context and to the extent,

  if any, it overlaps with Centripetal technology, it may have a direct impact on national security.

  Additionally, this trial concerns the protection of intellection property. The protection of

  intellectual property is of paramount concern and the Court seeks to resolve the matter with a

  sense of urgency. Therefore, for these reasons, the Court finds ample grounds to proceed

  expeditiously with the resolution of this case.

         Next, Cisco cites concerns about its ability to effectively cross examine witnesses by

  video. This objection fails for two reasons. First, both parties are required to disclose all exhibits,

  except those for used for purposes of impeachment, in advance of trial and therefore both sides

  will know what evidence is intended to be presented at trial. Second, both parties are required to

  prepare an exhibit book. These books are not required to be exchanged until the beginning of

  direct examination and cross examination of each witness. Therefore, Cisco's concerns regarding

  cross examination are unfounded. Cisco's has cited additional concerns regarding the Rule of

  Sequestration. If called upon to do so, the Court will impose its usual limitation upon witness

  discussing testimony with one another or counsel discussing past testimony with the witness in
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  advance of future testimony. There still exists the normal exception for the ability of an expert

  witness to listen to witness testimony. Additionally, the general prohibition on televising,

  recording or photographing any civil or criminal court proceedings remains in effect for remote

  proceedings. See E.D. Va. Loc. Civ. R. 83.3. The Court finds that the operation of any video or

  audio recording device by any lawyer, litigant, participant or observing member of the public or

  press is prohibited during remote proceedings. The Court will not presume that counsel or any

  witnesses will violate any separation or recording rules that it imposes.

          Moreover, during a previous telephonic hearing, Cisco cited the high dollar amount in

  controversy as a reason for postponing trial. This objection was not raised again on the papers

  and the Court shall not address it further. Lastly, the Court has previously asked the parties if

  there were any objections to the Court's review of the Centripetal v. Keysight trial transcript.

  The Court did not recall any objection raised by the Defendant. Considering this, the Court has

  had the transcript prepared but has not reviewed it. The Court has decided that it will not review

  any of the transcript for the reasons cited in by Cisco in its brief.

          Accordingly, for the following reasons, Cisco's Motion is DENIED. The Clerk is

  REQUESTED to electronically deliver a copy of this Order to all counsel of record.

         It is SO ORDERED.



                                                                     /sA
                                                   Henry Coke Morgan, Jr.
                                                   Senior United States District Judge

                                                                  Henry Coke Morgan,Jr.
                                                            Senior United States District Judge
  April 3<$^2020
  Norfolk, Virginia
